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                                                                                   FILED IN THE
                                                                               U.S. DISTRICT COURT
                                                                         EASTERN DISTRICT OF WASHINGTON

 1
                                                                          Jun 01, 2021
 2                                                                            SEAN F. MCAVOY, CLERK


 3
 4                              UNITED STATES DISTRICT COURT

 5                           EASTERN DISTRICT OF WASHINGTON
 6    UNITED STATES OF AMERICA,
                                                      No.    2:08-CR-0137-WFN-41
 7                               Plaintiff,
 8          -vs-                                      ORDER DENYING MOTION FOR
                                                      REDUCED SENTENCE
 9    THOMAS CURTIS COLLUM, SR.,
10                               Defendant.
11
12         Pending before the Court is Defendant's Motion for Compassionate Release. ECF
13   No. 2983. Defendant has not exhausted his claim with the Bureau of Prisons [BOP], but the
14   Government has no objection to proceeding to the merits as Defendant sought release while
15   in Spokane County Jail awaiting transport to a BOP facility, so was unable to exhaust his
16   claim. See United States' Response to Motion for Compassionate Release, ECF No. 2984.
17         Defendant must demonstrate that "(i) extraordinary and compelling reasons warrant
18   such a reduction; or (ii) the defendant is at least 70 years of age, has served at least 30 years
19   in prison, pursuant to a sentence imposed under section 3559(c) . . . and a determination has
20   been made by the Director of the Bureau of Prisons that the defendant is not a danger to the
21   safety of any other person or the community, as provided under section 3142(g)." 18 U.S.C.
22   § 3582(c)(1)(A).     As Defendant is not over 70 years old, he must demonstrate that
23   extraordinary and compelling reasons warrant reduction.
24         Defendant has not demonstrated extraordinary or compelling reasons warranting a
25   sentence reduction. In his Motion, Defendant cites reasons supporting compassionate
26   release known to the Court at the time of sentencing. The Court was aware of Defendant's
27   ongoing health issues at the time revocation. Defendant also struggled with drug use prior
28   to revocation which exacerbated his health issues. The Court imposed a 6-month sentence


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 1   after considering the 18 U.S.C. § 3553(a) factors as well as the conditions in the BOP
 2   caused by COVID-19. The Court has reviewed the file and Motion and is fully informed.
 3   Accordingly,
 4              IT IS ORDERED that Defendant's Motion for Compassionate, filed April 30, 2021,
 5   ECF No. 2983, is DENIED.
 6              The District Court Executive is directed to file this Order and provide copies to
 7   counsel.
 8              DATED this 1st day of June, 2021.
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10                                                   WM. FREMMING NIELSEN
11   05-26-21                                 SENIOR UNITED STATES DISTRICT JUDGE
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     ORDER - 2
